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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

          v.                                                      DECISION AND ORDER
                                                                       06-CR-284S
RAFAEL LOPEZ

                             Defendant.


          1.    On October 20, 2008, the Defendant entered into a written plea agreement

(Docket No. 230) and pled guilty to a Count 1 of the Superseding Indictment (Docket No.

128) charging a violation of Title 21, U.S.C. Section 846 (conspiracy to possess with intent

to distribute and to distribute heroin).

          2.    On October 20, 2008, the Honorable H. Kenneth Schroeder, Jr., United

States Magistrate Judge, filed a Report and Recommendation (Docket No. 232)

recommending that Defendant’s plea of guilty be accepted and the Defendant adjudicated

guilty.

          3.    This Court has not received objections to the Report and Recommendation

in accordance with 28 U.S.C. §636(b)(1)(C) and Local Rule 58.2(a)(3).

          4.    This Court has carefully reviewed de novo Judge Schroeder’s October 20,

2008, Report and Recommendation, the plea agreement, transcript of the proceeding, and

the applicable law. Upon due consideration, this Court finds no legal or factual error in

Judge Schroeder’s Report and Recommendation, and will accept Judge Schroeder’s

recommendation that Defendant’s plea of guilty be accepted and that the Defendant be

adjudicated guilty as charged.
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      IT HEREBY IS ORDERED, that this Court accepts Judge Schroeder’s October 20,

2008, Report and Recommendation (Docket No. 232) in its entirety, including the

authorities cited and the reasons given therein.

      FURTHER, that the plea of guilty of Defendant Rafael Lopez is accepted, and he

is now adjudged guilty of Title 21, U.S.C. Section 846.

      SO ORDERED.


Dated: November 18, 2008
       Buffalo, New York


                                                       /s/William M. Skretny
                                                       WILLIAM M. SKRETNY
                                                     United States District Judge




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